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                                  9                          UNITED STATES DISTRICT COURT
                                 10
                                                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                 12     MARIO GARCIA, individually and            CASE NO.:
                                        on behalf of all others similarly
                                 13     situated,
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                                                                                          CLASS ACTION COMPLAINT
                                 14                          Plaintiff,                1. VIOLATIONS OF THE
                                              v.                                          AMERICANS WITH
                                 15
                                                                                          DISABILITIES ACT OF 1990, 42
                                 16                                                       U.S.C. §12181
                                        MICKEY FINE ENTERPRISES,                       2. VIOLATIONS OF THE UNRUH
                                 17     INC. d/b/a MICKEY FINE GRILL, a                   CIVIL RIGHTS ACT
                                 18     California corporation; MICKEY                    DEMAND FOR JURY TRIAL
                                        FINE CLINICAL SERVICES INC., a
                                 19     California corporation; and DOES 1
                                 20     to 10, inclusive,

                                 21                         Defendants.
                                 22
                                 23           Plaintiff Mario Garcia (“Plaintiff”), individually and on behalf of all others
                                 24     similarly situated, brings this action based upon personal knowledge as to himself
                                 25     and his own acts, and as to all other matters upon information and belief, based
                                 26     upon, inter alia, the investigations of his attorneys.
                                 27     ///
                                 28     ///
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                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                                NATURE OF THE ACTION
                                  2           1.     Plaintiff is a visually-impaired and legally blind person who requires
                                  3     screen-reading software to read website content using his computer. Plaintiff uses
                                  4     the terms “blind” or “visually-impaired” to refer to all people with visual
                                  5     impairments who meet the legal definition of blindness in that they have a visual
                                  6     acuity with correction of less than or equal to 20 x 200. Some blind people who
                                  7     meet this definition have limited vision. Others have no vision.
                                  8           2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  9     (hereafter “Class Members”), brings this Class Action to secure redress against
                                 10     Mickey Fine Enterprises, Inc. d/b/a Mickey Fine Grill and Mickey Fine Clinical
                                 11     Services Inc., (hereafter individually and collectively “Defendant”), and DOES 1-
                                 12     10, for its failure to design, construct, maintain, and operate its website to be fully
                                 13     and equally accessible to and independently usable by Plaintiff and other blind or
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                                 14     visually-impaired people. Defendant’s denial of full and equal access to its website,
                                 15     and therefore denial of its products and services offered thereby and in conjunction
                                 16     with its physical location, is a violation of Plaintiff’s rights under the Americans
                                 17     with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
                                 18           3.     Because Defendant’s website, http://www.mickeyfine.com/ (the
                                 19     “Website” or “Defendant’s website”), is not fully or equally accessible to blind and
                                 20     visually-impaired consumers, resulting in violation of the ADA, Plaintiff seeks a
                                 21     permanent injunction to cause a change in Defendant’s corporate policies, practices,
                                 22     and procedures so that Defendant’s website will become and remain accessible to
                                 23     blind and visually-impaired consumers.
                                 24                                       THE PARTIES
                                 25           4.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 26     California, County of San Bernardino. Plaintiff is legally blind, visually-impaired
                                 27     handicapped person, and member of a protected class of individuals under the ADA,
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                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1     pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA
                                  2     set forth at 28 CFR §§ 36.101 et seq.
                                  3           5.     Defendant is a California corporation, with its headquarters in Beverly
                                  4     Hills, California. Defendant’s servers for the website are in the United States.
                                  5     Defendant conducts a large amount of its business in California, and the United
                                  6     States as a whole. The restaurant and pharmacy constitute a place of public
                                  7     accommodation.     Defendant’s restaurant and pharmacy provide to the public
                                  8     important goods and services. Defendant’s website provides consumers with access
                                  9     to the restaurant’s menu which includes appetizing food at reasonable prices, as
                                 10     well as a wide selection of over the counter medications and gift items which are
                                 11     available online and at the physical location for purchase. Consumers can further
                                 12     access information about restaurant and pharmacy locations and hours of operation,
                                 13     restaurant and pharmacy’s photo gallery, menu selections, pharmacy information,
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                                 14     prescription coupons, refills, prescription transfers, health news, medication search,
                                 15     events, reviews, delivery services, catering services, and the Mickey Fine Pharmacy
                                 16     and Grill mobile app.
                                 17           6.     Plaintiff is unaware of the true names, identities, and capacities of
                                 18     Defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 19     complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 20     ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 21     Defendant sued herein as a DOE is legally responsible in some manner for the
                                 22     events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 23     proximately caused injuries and damages to Plaintiff as set forth below.
                                 24           7.     Defendant’s restaurant and pharmacy is a public accommodation
                                 25     within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 26           8.     The Website, http://www.mickeyfine.com/, is a service, privilege, or
                                 27     advantage of Defendant’s services, products, and locations.
                                 28     ///
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                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                               JURISDICTION AND VENUE
                                  2           9.     This Court has subject matter jurisdiction over the state law claims
                                  3     alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                  4     §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                  5     million, exclusive of interest and costs; and (b) some of the class members are
                                  6     citizens of a state (California).
                                  7           10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                  8     has been and is committing the acts or omissions alleged herein in the Central
                                  9     District of California that caused injury, and violated rights prescribed by the ADA
                                 10     and UCRA, to Plaintiff and to other blind and other visually-impaired consumers.
                                 11     A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                 12     in the Central District of California. Specifically, on several separate occasions,
                                 13     Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
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                                 14     services of Defendant’s website in San Bernardino County. The access barriers
                                 15     Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                 16     full and equal access multiple times in the past and now deter Plaintiff on a regular
                                 17     basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                 18     has encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                 19     enjoyment of goods and services offered at Defendant’s physical locations.
                                 20           11.    This Court also has subject-matter jurisdiction over this action
                                 21     pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                 22     under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 23           12.    This Court has personal jurisdiction over Defendant because it
                                 24     conducts and continues to conduct a substantial and significant amount of business
                                 25     in the State of California, County of San Bernardino, and because Defendant's
                                 26     offending website is available across California.
                                 27           13.    Venue is proper in the Central District of California pursuant to 28
                                 28     U.S.C. §1391 because Plaintiff resides in this District, Defendant conducts and
                                                                                   4
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1     continues to conduct a substantial and significant amount of business in this District,
                                  2     Defendant is subject to personal jurisdiction in this District, and a substantial
                                  3     portion of the conduct complained of herein occurred in this District.
                                  4           14.    Defendant owns, operates, and maintains brick and mortar restaurant
                                  5     and pharmacy locations in the State of California. Defendant’s restaurant and
                                  6     pharmacy offers goods and services to the public. Defendant also offers goods and
                                  7     services to the public through the Website. Defendant’s brick and mortar restaurant
                                  8     and pharmacy locations and website are integrated and are public accommodations
                                  9     pursuant to 42 U.S.C. § 12181(7).
                                 10       THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 11           15.    The Internet has become a significant source of information, a portal,
                                 12     and a tool for conducting business, doing everyday activities such as shopping,
                                 13     learning, banking, researching, as well as many other activities for sighted, blind
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                                 14     and visually-impaired persons alike.
                                 15           16.    In today's tech-savvy world, blind and visually-impaired people have
                                 16     the ability to access websites using keyboards in conjunction with screen access
                                 17     software that vocalizes the visual information found on a computer screen. This
                                 18     technology is known as screen-reading software.          Screen-reading software is
                                 19     currently the only method a blind or visually-impaired person may independently
                                 20     access the internet. Unless websites are designed to be read by screen-reading
                                 21     software, blind and visually-impaired persons are unable to fully access websites,
                                 22     and the information, products, and services contained thereon.
                                 23           17.    Blind and visually-impaired users of Windows operating system-
                                 24     enabled computers and devices have several screen-reading software programs
                                 25     available to them. Some of these programs are available for purchase and other
                                 26     programs are available without the user having to purchase the program separately.
                                 27     Job Access With Speech, otherwise known as “JAWS,” is currently the most
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                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1     popular, separately purchased and downloaded screen-reading software program
                                  2     available for a Windows computer.
                                  3           18.    For screen-reading software to function, the information on a website
                                  4     must be capable of being rendered into text. If the website content is not capable
                                  5     of being rendered into text, the blind or visually-impaired user is unable to access
                                  6     the same content available to sighted users.
                                  7           19.    The international website standards organization, the World Wide
                                  8     Web Consortium, known throughout the world as W3C, has published Success
                                  9     Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 10     hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 11     accessible to blind and visually-impaired people. These guidelines are adopted,
                                 12     implemented, and followed by most large business entities who want to ensure their
                                 13     websites are accessible to users of screen-reading software programs. Though
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                                 14     WCAG 2.1 has not been formally adopted as the standard for making websites
                                 15     accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 16     maintain, and provide a website that is accessible under the ADA to the public.
                                 17           20.    Within this context, the Ninth Circuit has recognized the viability of
                                 18     ADA claims against commercial website owners/operators with regard to the
                                 19     accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                 20     55504 (9th Cir. Apr. 13, 2017), Court Docket No. BL-66. This is in addition to the
                                 21     numerous courts that already recognized such application.
                                 22           21.    Each of Defendant’s violations of the Americans with Disabilities Act
                                 23     is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 24     Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 25     Civil Rights Act. Cal. Civ. Code, § 51(f).
                                 26           22.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                 27     equal access to their accommodations, facilities, and services.        A substantial
                                 28     motivating reason for Defendant to deny Plaintiff access was the perception of
                                                                                  6
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1     Plaintiff’s disability.     Defendant’s denial of Plaintiff’s accessibility was a
                                  2     substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                  3     to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                  4     in causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code, §
                                  5     51.
                                  6           23.    Inaccessible or otherwise non-compliant websites pose significant
                                  7     access barriers to blind and visually-impaired persons.              Common barriers
                                  8     encountered by blind and visually impaired persons include, but are not limited to,
                                  9     the following:
                                 10                  a. A text equivalent for every non-text element is not provided;
                                 11                  b. Title frames with text are not provided for identification and
                                 12                      navigation;
                                 13                  c. Equivalent text is not provided when using scripts;
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                                 14                  d. Forms with the same information and functionality as for sighted
                                 15                      persons are not provided;
                                 16                  e. Information about the meaning and structure of content is not
                                 17                      conveyed by more than the visual presentation of content;
                                 18                  f. Text cannot be resized without assistive technology up to 200
                                 19                      percent without loss of content or functionality;
                                 20                  g. If the content enforces a time limit, the user is not able to extend,
                                 21                      adjust or disable it;
                                 22                  h. Web pages do not have titles that describe the topic or purpose;
                                 23                  i. The purpose of each link cannot be determined from the link text
                                 24                      alone or from the link text and its programmatically determined link
                                 25                      context;
                                 26                  j. One or more keyboard operable user interface lacks a mode of
                                 27                      operation where the keyboard focus indicator is discernible;
                                 28                  k. The default human language of each web page cannot be
                                                                                  7
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                     programmatically determined;
                                  2                 l. When a component receives focus, it may initiate a change in
                                  3                     context;
                                  4                 m. Changing the setting of a user interface component may
                                  5                     automatically cause a change of context where the user has not been
                                  6                     advised before using the component;
                                  7                 n. Labels or instructions are not provided when content requires user
                                  8                     input;
                                  9                 o. In content which is implemented by using markup languages,
                                 10                     elements do not have complete start and end tags, elements are not
                                 11                     nested according to their specifications, elements may contain
                                 12                     duplicate attributes and/or any IDs are not unique;
                                 13                 p. Inaccessible Portable Document Format (PDFs); and
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                                 14                 q. The name and role of all User Interface elements cannot be
                                 15                     programmatically determined; items that can be set by the user
                                 16                     cannot be programmatically set; and/or notification of changes to
                                 17                     these items is not available to user agents, including assistive
                                 18                     technology.
                                 19                                FACTUAL BACKGROUND
                                 20           24.   Defendant offers the http://mickeyfine.com/, website, to the public.
                                 21     The website offers features which should allow all consumers to access the goods
                                 22     and services which Defendant offers in connection with its physical locations. The
                                 23     goods and services offered by Defendant include, but are not limited to the
                                 24     following, which allow consumers to access the Mickey Fine Grill menu which
                                 25     features coffee drinks, cold beverages, breakfast favorites, waffles, pancakes,
                                 26     French toast, donuts, muffins, croissants, omelets, breakfast burritos, gourmet
                                 27     sandwiches, burgers, hot melts, gourmet, wraps, salads, chips, hot dogs, and
                                 28     comfort food which are available to order online and in the restaurant location for
                                                                                 8
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                                  1     purchase. Further, the goods and services offered by Defendant include medication
                                  2     services such as home delivery, medication adherence, flu shots & immunizations,
                                  3     med synchronization, MTM Services, mail delivery, and private consultation; over
                                  4     the counter medication including pain medication, cold & allergy meds, vitamins,
                                  5     oral health products, feminine hygiene products, first aid items, and contraceptive
                                  6     aids; gift items including cosmetics, magazines, hair care, shower and bath items,
                                  7     greeting cards, candles, and jewelry. Consumers can also access information
                                  8     regarding locations and hours of operation, Defendant’s photo gallery, pharmacy
                                  9     information and coupons, refills, prescription transfers, health news, the pharmacist
                                 10     corner, the medication search tool bar, events calendar, reviews, catering services,
                                 11     delivery services, and the Mickey Fine Pharmacy and Grill mobile app.
                                 12           25.    Based on information and belief, it is Defendant's policy and practice
                                 13     to deny Plaintiff and Class Members, along with other blind or visually-impaired
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                                 14     users, access to Defendant’s website, and to therefore specifically deny the goods
                                 15     and services that are offered and integrated with Defendant’s restaurant. Due to
                                 16     Defendant's failure and refusal to remove access barriers on its website, Plaintiff
                                 17     and other visually-impaired persons have been and are still being denied equal and
                                 18     full access to Defendant’s restaurant and pharmacy offerings, and additional goods
                                 19     and services for purchase offered to the public through Defendant’s Website.
                                 20     DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT. CAL. CIV.
                                 21        CODE, § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                 22           26.    Plaintiff is a visually-impaired and legally blind person, who cannot
                                 23     use a computer without the assistance of screen-reading software. However,
                                 24     Plaintiff is a proficient user of the JAWS or NV Access screen-reader(s) as well as
                                 25     Mac’s VoiceOver and use it to access the internet.            Plaintiff has visited
                                 26     http://www.mickeyfine.com/, on several separate occasions using the JAWS and/or
                                 27     VoiceOver screen-readers.
                                 28           27.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                                                                  9
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                                  1   encountered multiple access barriers which denied Plaintiff full and equal access to
                                  2   the facilities, goods, and services offered to the public and made available to the
                                  3   public on Defendant’s website and its prior iterations. Due to the widespread access
                                  4   barriers Plaintiff and Class Members encountered on Defendant’s website, Plaintiff
                                  5   and Class Members have been deterred, on a regular basis, from accessing
                                  6   Defendant’s website. Similarly, the access barriers Plaintiff has encountered on
                                  7   Defendant’s website has deterred Plaintiff and Class Members from visiting
                                  8   Defendant’s physical locations.
                                  9         28.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                 10   Members encountered multiple accessibility barriers for blind or visually-impaired
                                 11   people that include, but are not limited to, the following:
                                 12                a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 13                   is invisible code embedded beneath a graphic or image on a website
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                                 14                   that is read to a user by a screen-reader. For graphics or images to
                                 15                   be fully accessible for screen-reader users, it requires that alt-text
                                 16                   be coded with each graphic or image so that screen-reading
                                 17                   software can speak the alt-text to describe the graphic or image
                                 18                   where a sighted user would just see the graphic or image. Alt-text
                                 19                   does not change the visual presentation, but instead a text box
                                 20                   shows when the cursor hovers over the graphic or image. The lack
                                 21                   of alt-text on graphics and images prevents screen-readers from
                                 22                   accurately vocalizing a description of the image or graphic. As a
                                 23                   result, Plaintiff and Class Members who are blind and visually-
                                 24                   impaired customers are unable to determine what appetizing food
                                 25                   are available for online ordering, find Defendant’s restaurant and
                                 26                   pharmacy locations and hours of operation, access information
                                 27                   regarding Defendant’s photo gallery, menu selections, pharmacy
                                 28                   information, prescription coupons, refills, prescription transfers,
                                                                                10
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                   health news, medication, events, reviews, delivery services,
                                  2                   catering services, download the Mickey Fine Pharmacy and Grill
                                  3                   mobile app, or complete any purchases;
                                  4                b. Empty Links that contain No Text causing the function or purpose
                                  5                   of the link to not be presented to the user. This can introduce
                                  6                   confusion for keyboard and screen-reader users;
                                  7                c. Redundant Links where adjacent links go to the same URL address
                                  8                   which results in additional navigation and repetition for keyboard
                                  9                   and screen-reader users; and
                                 10                d. Linked Images missing alt-text, which causes problems if an image
                                 11                   within a link does not contain any descriptive text and that image
                                 12                   does not have alt-text. A screen reader then has no content to
                                 13                   present the user as to the function of the link, including information
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                                 14                   or links for and contained in PDFs.
                                 15         29.    Recently in 2021, Plaintiff attempted to do business with Defendant
                                 16   on Defendant’s website.     Plaintiff has visited prior iterations of the website,
                                 17   http://www.mickeyfine.com/, and also encountered barriers to access on
                                 18   Defendant’s website.
                                 19         30.    Despite past and recent attempts to do business with Defendant on its
                                 20   website, the numerous access barriers contained on the website and encountered by
                                 21   Plaintiff have denied Plaintiff full and equal access to Defendant’s website.
                                 22   Plaintiff and Class Members, as a result of the barriers on Defendant’s website
                                 23   continue to be deterred on a regular basis from accessing Defendant’s website.
                                 24   Likewise, based on the numerous access barriers Plaintiff and Class Members have
                                 25   been deterred and impeded from the full and equal enjoyment of goods and services
                                 26   offered in Defendant’s restaurant and pharmacy and from making purchases at such
                                 27   physical locations.
                                 28   ///
                                                                               11
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1               DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                  2         31.     Due to the inaccessibility of the Defendant’s website, blind and
                                  3   visually-impaired customers such as the Plaintiff, who need screen-readers, cannot
                                  4   fully and equally use or enjoy the facilities and services the Defendant offers to the
                                  5   public on its website. The access barriers the Plaintiff encountered have caused a
                                  6   denial of Plaintiff’s full and equal access in the past and now deter Plaintiff on a
                                  7   regular basis from accessing the website.
                                  8         32.     These access barriers on Defendant’s website have deterred Plaintiff
                                  9   from visiting Defendant’s physical location and enjoying them equal to sighted
                                 10   individuals because: Plaintiff was unable to find the locations and hours of
                                 11   operation of Defendant’s locations on its website preventing Plaintiff from visiting
                                 12   the locations to purchase services. Plaintiff and Class Members intend to visit the
                                 13   Defendant’s locations in the near future if Plaintiff and Class Members could access
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                                 14   Defendant’s website.
                                 15         33.     If the website was equally accessible to all, Plaintiff and Class
                                 16   Members could independently navigate the website and complete a desired
                                 17   transaction, as sighted individuals do.
                                 18         34.     Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 19   knowledge of the access barriers that make these services inaccessible and
                                 20   independently unusable by blind and visually-impaired people.
                                 21         35.     Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 22   and Class Members, who are visually-impaired consumers, with equal access to the
                                 23   website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                 24   intentional discrimination, including, but not limited to, the following policies or
                                 25   practices: constructing and maintaining a website that is inaccessible to visually-
                                 26   impaired individuals, including Plaintiff and Class Members; failing to construct
                                 27   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                 28   visually-impaired individuals, including Plaintiff and Class Members; and failing
                                                                                12
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   to take actions to correct these access barriers in the face of substantial harm and
                                  2   discrimination to blind and visually-impaired consumers, such as Plaintiff and Class
                                  3   Members, as a member of a protected class.
                                  4         36.    The Defendant uses standards, criteria or methods of administration
                                  5   that have the effect of discriminating or perpetuating the discrimination against
                                  6   others, as alleged herein.
                                  7         37.    The ADA expressly contemplates the injunctive relief that plaintiff
                                  8   seeks in this action. In relevant part, the ADA requires:
                                  9         In the case of violations of … this title, injunctive relief shall include
                                            an order to alter facilities to make such facilities readily accessible to
                                 10         and usable by individuals with disabilities …. Where appropriate,
                                 11         injunctive relief shall also include requiring the … modification of a
                                            policy …. 42 U.S.C. § 12188(a)(2).
                                 12
                                 13         38.    Because Defendant’s website has never been equally accessible and
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                                 14   because Defendant lacks a corporate policy that is reasonably calculated to cause

                                 15   the Defendant’s website to become and remain accessible, Plaintiff invokes 42

                                 16   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to

                                 17   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply

                                 18   with WCAG 2.1 guidelines for Defendant’s website.             The website must be

                                 19   accessible for individuals with disabilities who use desktop computers, laptops,

                                 20   tablets, and smartphones. Plaintiff and Class Members seek that this permanent

                                 21   injunction require Defendant to cooperate with the agreed-upon consultant to: train

                                 22   Defendant’s employees and agents who develop the website on accessibility

                                 23   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of

                                 24   the website under the WCAG 2.1 guidelines; regularly test user accessibility by

                                 25   blind or vision-impaired persons to ensure that the Defendant’s website complies

                                 26   under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly

                                 27   disclosed on the Defendant’s website. The above provides contact information for

                                 28   users to report accessibility-related problems and require that any third-party
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                                  1   vendors who participate on the Defendant’s website to be fully accessible to the
                                  2   disabled by conforming with WCAG 2.1.
                                  3          39.      If Defendant’s website were accessible, Plaintiff and Class Members
                                  4   could independently access information about restaurant and pharmacy locations,
                                  5   hours, services offered and services available for online purchase.
                                  6           40. Although Defendant may currently have centralized policies regarding
                                  7   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                  8   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                  9   and independently usable by, blind and other visually-impaired consumers.
                                 10           41. Defendant has, upon information and belief, invested substantial sums
                                 11   in developing and maintaining Defendant’s website and Defendant has generated
                                 12   significant revenue from Defendant’s website. These amounts are far greater than
                                 13   the associated cost of making Defendant’s website equally accessible to visually
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                                 14   impaired customers. Plaintiff has also visited prior iterations of the Defendant’s
                                 15   website, http://www.mickeyfine.com/, and encountered such barriers.
                                 16          42.      Without injunctive relief, Plaintiff and Class Members will continue
                                 17   to be unable to independently use Defendant’s website resulting in a violation of
                                 18   their rights.
                                 19                             CLASS ACTION ALLEGATIONS
                                 20          43.      Plaintiff, on behalf of himself and all others similarly situated, seeks
                                 21   to certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the
                                 22   Nationwide class is initially defined as follows:
                                 23          all legally blind individuals who have attempted to access Defendant’s
                                             website by the use of a screen reading software during the applicable
                                 24
                                             limitations period up to and including final judgment in this action.
                                 25          44.      The California class is initially defined as follows:
                                 26          all legally blind individuals in the State of California who have
                                 27          attempted to access Defendant’s website by the use of a screen reading
                                             software during the applicable limitations period up to and including
                                 28          final judgment in this action.
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                                  1         45.    Excluded from each of the above Classes is Defendant, including any
                                  2   entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                  3   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                  4   representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                  5   excluded are the judge and the court personnel in this case and any members of their
                                  6   immediate families. Plaintiff reserves the right to amend the Class definitions if
                                  7   discovery and further investigation reveal that the Classes should be expanded or
                                  8   otherwise modified.
                                  9         46.    Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                 10   and may properly be maintained as a class action against Defendant under Rules
                                 11   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 12   number and identities of other Class Members are unknown to Plaintiff at this time,
                                 13   Plaintiff is informed and believes that there are hundreds of thousands of Members
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                                 14   in the Class. Based on the number of customers who have visited Defendant’s
                                 15   California locations, it is estimated that the Class is composed of more than 10,000
                                 16   persons. Furthermore, even if subclasses need to be created for these consumers, it
                                 17   is estimated that each subclass would have thousands of Members. The Members
                                 18   of the Class are so numerous that joinder of all Members is impracticable and the
                                 19   disposition of their claims in a class action rather than in individual actions will
                                 20   benefit the parties and the courts.
                                 21         47.    Typicality: Plaintiff and Class Members’ claims are typical of the
                                 22   claims of the Members of the Class as all Members of the Class are similarly
                                 23   affected by Defendant’s wrongful conduct, as detailed herein.
                                 24         48.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 25   the Members of the Class in that they have no interests antagonistic to those of the
                                 26   other Members of the Class. Plaintiff has retained experienced and competent
                                 27   counsel.
                                 28         49.    Superiority: A class action is superior to other available methods for
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                                  1   the fair and efficient adjudication of this controversy. Since the damages sustained
                                  2   by individual Class Members may be relatively small, the expense and burden of
                                  3   individual litigation makes it impracticable for the Members of the Class to
                                  4   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                  5   adjudication of this controversy through a class action will avoid the potentially
                                  6   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                  7   be no difficulty in the management of this action as a class action. If Class treatment
                                  8   of these claims were not available Defendant would likely unfairly receive
                                  9   thousands of dollars or more in improper revenue.
                                 10         50.    Common Questions Predominate: Common questions of law and fact
                                 11   exist as to all Members of the Class and predominate over any questions solely
                                 12   affecting individual Members of the Class. Among the common questions of law
                                 13   and fact applicable to the Class are:
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                                 14                    i. Whether Defendant’s website, http://www.mickeyfine.com, is
                                 15                       inaccessible to the visually-impaired who use screen reading
                                 16                       software to access internet websites;
                                 17                   ii. Whether Plaintiff and Class Members have been unable to
                                 18                       access http://www.mickeyfine.com/, through the use of screen
                                 19                       reading software;
                                 20                  iii. Whether the deficiencies in Defendant’s website violate the
                                 21                       Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                 22                       seq.;
                                 23                  iv. Whether the deficiencies in Defendant’s website violate the
                                 24                       California Unruh Civil Rights Act, California Civil Code § 51
                                 25                       et seq.;
                                 26                   v. Whether, and to what extent, injunctive relief should be imposed
                                 27                       on Defendant to make http://www.mickeyfine.com/, readily
                                 28                       accessible to and usable by visually-impaired individuals;
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                                  1                   vi. Whether Plaintiff and Class Members are entitled to recover
                                  2                         statutory damages with respect to Defendant’s wrongful
                                  3                         conduct; and
                                  4                  vii. Whether further legal and/or equitable relief should be granted
                                  5                         by the Court in this action.
                                  6         51.    The class is readily definable and prosecution of this action as a Class
                                  7   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                  8   difficulty which will be encountered in the management of this litigation which
                                  9   would preclude the maintenance of this matter as a Class action.
                                 10         52.    The prerequisites to maintaining a class action for injunctive relief or
                                 11   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 12   to act on grounds generally applicable to the Class, thereby making appropriate final
                                 13   injunctive or equitable relief with respect to the Class as a whole.
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                                 14         53.    The prerequisites to maintaining a class action for injunctive relief or
                                 15   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 16   common to the Class predominate over any questions affecting only individual
                                 17   Members and a class action is superior to other available methods for fairly and
                                 18   efficiently adjudicating the controversy.
                                 19         54.    The prosecution of separate actions by Members of the Class would
                                 20   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 21   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 22   interest of all Members of the Class although certain Class Members are not parties
                                 23   to such actions.
                                 24         55.    Defendant’s conduct is generally applicable to the Class as a whole
                                 25   and Plaintiff seek, inter alia, equitable remedies with respect to the Class as a whole.
                                 26   As such, Defendant’s systematic policies and practices make declaratory relief with
                                 27   respect to the Class as a whole appropriate.
                                 28   ///
                                                                                  17
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                                  1                                        COUNT I
                                  2      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                  3                                U.S.C. § 12181 ET SEQ.
                                  4         (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                  5         56.    Plaintiff alleges and incorporates herein by reference each and every
                                  6   allegation contained in paragraphs 1 through 55, inclusive, of this Complaint as if
                                  7   set forth fully herein.
                                  8         57.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                  9   provides: “No individual shall be discriminated against on the basis of disability in
                                 10   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 11   advantages, or accommodations of any place of public accommodation by any
                                 12   person who owns, leases (or leases to), or operates a place of public
                                 13   accommodation” 42 U.S.C. § 12182(a).
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                                 14         58.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 15   discrimination also includes, among other things: “a failure to make reasonable
                                 16   modifications in policies, practices, or procedures, when such modifications are
                                 17   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 18   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 19   that making such modifications would fundamentally alter the nature of such goods,
                                 20   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 21   take such steps as may be necessary to ensure that no individual with a disability is
                                 22   excluded, denied services, segregated or otherwise treated differently than other
                                 23   individuals because of the absence of auxiliary aids and services, unless the entity
                                 24   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 25   good, service, facility, privilege, advantage, or accommodation being offered or
                                 26   would result in an undue burden” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 27   accommodation shall take those steps that may be necessary to ensure that no
                                 28   individual with a disability is excluded, denied services, segregated, or otherwise
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                                  1   treated differently than other individuals because of the absence of auxiliary aids
                                  2   and services, unless the public accommodation can demonstrate that taking those
                                  3   steps would fundamentally alter the nature of the goods, services, facilities,
                                  4   privileges, advantages, or accommodations being offered or would result in an
                                  5   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                  6   order to be effective, auxiliary aids and services must be provided in accessible
                                  7   formats, in a timely manner, and in such a way as to protect the privacy and
                                  8   independence of the individual with a disability” 28 C.F.R. § 36.303(c)(1)(ii).
                                  9         59.    Defendant’s restaurant and pharmacy locations are “public
                                 10   accommodations” within the meaning of 42 U.S.C. § 12181 et seq. Defendant
                                 11   generates millions of dollars in revenue from the sale of its amenities and services,
                                 12   privileges, advantages, and accommodations in California through its location and
                                 13   related services, privileges, advantages, and accommodations and its Website,
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                                 14   http://www.mickeyfine.com/,      is    a    service,   privilege,   advantage,    and
                                 15   accommodation provided by Defendant that is inaccessible to customers who are
                                 16   visually-impaired like Plaintiff.     This inaccessibility denies visually-impaired
                                 17   customers full and equal enjoyment of and access to the facilities and services,
                                 18   privileges, advantages, and accommodations that Defendant made available to the
                                 19   non-disabled public. Defendant is violating the Americans with Disabilities Act,
                                 20   42 U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the
                                 21   services,   privileges,   advantages,      and    accommodations      provided    by
                                 22   http://www.mickeyfine.com/. These violations are ongoing.
                                 23         60.    Defendant’s actions constitute intentional discrimination against
                                 24   Plaintiff and Class Members on the basis of a disability in violation of the
                                 25   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                 26   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                 27   the website in this inaccessible form; and has failed to take adequate actions to
                                 28   correct these barriers even after being notified of the discrimination that such
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                                  1   barriers cause.
                                  2         61.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                  3   set forth and incorporated therein Plaintiff requests relief as set forth below.
                                  4                                        COUNT II
                                  5     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                  6                               CIVIL CODE § 51 ET SEQ.
                                  7                      (On Behalf of Plaintiff and the California Class)
                                  8         62.    Plaintiff alleges and incorporates herein by reference each and every
                                  9   allegation contained in paragraphs 1 through 61, inclusive, of this Complaint as if
                                 10   set forth fully herein.
                                 11         63.    Defendant’s locations are “business establishments” within the
                                 12   meaning of the California Civil Code § 51 et seq. Defendant generates millions of
                                 13   dollars in revenue from the sale of its services in California through its physical
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                                 14   location and related services and http://www.mickeyfine.com/ is a service provided
                                 15   by Defendant that is inaccessible to customers who are visually-impaired like
                                 16   Plaintiff and Class Members.         This inaccessibility denies visually-impaired
                                 17   customers full and equal access to Defendant’s facilities and services that Defendant
                                 18   makes available to the non-disabled public. Defendant is violating the Unruh Civil
                                 19   Rights Act, California Civil Code § 51 et seq., in that Defendant is denying visually
                                 20   impair customers the services provided by http://www.mickeyfine.com/. These
                                 21   violations are ongoing.
                                 22         64.    Defendant’s actions constitute intentional discrimination against
                                 23   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                 24   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                 25   website that is inaccessible to Plaintiff and Class Members; maintains the website
                                 26   in this inaccessible form; and has failed to take adequate actions to correct these
                                 27   barriers even after being notified of the discrimination that such barriers cause.
                                 28         65.    Defendant is also violating the Unruh Civil Rights Act, California
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                                  1   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                  2   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                  3   of the California Civil Code provides that a violation of the right of any individual
                                  4   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                  5         66.    The actions of Defendant were and are in violation of the Unruh Civil
                                  6   Rights Act, California Civil Code § 51 et seq.; therefore, Plaintiff and Class
                                  7   Members are entitled to injunctive relief remedying the discrimination.
                                  8         67.    Plaintiff and Class Members are also entitled to statutory minimum
                                  9   damages pursuant to California Civil Code § 52 for each and every offense.
                                 10         68.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 11   fees and costs.
                                 12         69.    Plaintiff and Class Members are also entitled to a preliminary and
                                 13   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
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                                 14   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 15   necessary to make http://www.mickeyfine.com/ readily accessible to and usable by
                                 16   visually-impaired individuals.
                                 17                                PRAYER FOR RELIEF
                                 18         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 19   respectfully requests that the Court enter judgment in his favor and against
                                 20   Defendant as follows:
                                 21         A.     For an Order certifying the Nationwide Class and California Class as
                                 22                defined herein and appointing Plaintiff and his Counsel to represent
                                 23                the Nationwide Class and the California Class;
                                 24         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 25                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 26                enjoining Defendant from violating the Unruh Civil Rights Act, the
                                 27                ADA and requiring Defendant to take the steps necessary to make
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                                  1                http://www.mickeyfine.com/ readily accessible to and usable by
                                  2                visually-impaired individuals;
                                  3         C.     An award of statutory minimum damages of $4,000 per offense per
                                  4                person pursuant to section 52(a) of the California Civil Code.
                                  5         D.     For attorneys’ fees and expenses pursuant to California Civil Code §§
                                  6                52(a), 52.1(h), and 42 U.S.C. § 12205;
                                  7         E.     For pre-judgment interest to the extent permitted by law;
                                  8         F.     For costs of suit; and
                                  9         G.     For such other and further relief as the Court deems just and proper.
                                 10                             DEMAND FOR JURY TRIAL
                                 11         Plaintiff, on behalf of himself and all others similarly situated, hereby
                                 12   demands a jury trial for all claims so triable.
                                 13
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                                 14   Dated: June 23, 2021                              Respectfully Submitted,
                                 15
                                 16                                                     /s/ Thiago M. Coelho
                                                                                        Thiago M. Coelho
                                 17                                                     WILSHIRE LAW FIRM
                                 18                                                     Attorney for Plaintiff and
                                                                                        Proposed Class
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